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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued November 2, 2022             Decided August 18, 2023

                                    No. 22-3018

                            UNITED STATES OF AMERICA,
                                    APPELLEE

                                          v.

                                   JAMES LITTLE,
                                    APPELLANT


                     Appeal from the United States District Court
                             for the District of Columbia
                                (No. 1:21-cr-00315-1)


                 Joshua B. Carpenter, Federal Public Defender for the
            Western District of North Carolina, argued the cause and filed
            the briefs for appellant.

                 James I. Pearce, Appellate Counsel, U.S. Department of
            Justice, argued the cause for appellee. With him on the brief
            were Matthew Graves, U.S. Attorney for the District of
            Columbia, Kenneth A. Polite, Assistant Attorney General, Lisa
            H. Miller, Deputy Assistant Attorney General, and John Crabb
            Jr., Chief, Capitol Siege Section.

               Before: WILKINS and WALKER, Circuit Judges, and
            ROGERS, Senior Circuit Judge.
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                 Opinion for the Court filed by Circuit Judge WALKER.

                 Dissenting opinion by Circuit Judge WILKINS.

                WALKER, Circuit Judge: James Little committed a petty
            offense. The district court sentenced him to prison, followed
            by probation. The only question on appeal is whether that
            sentence is authorized by statute.

                It is not. Probation and imprisonment are alternative
            sentences that cannot generally be combined. So the district
            court could not impose both for Little’s petty offense.

                                      I. Background

            A. James Little’s Offense and Sentence

                 On January 6, 2021, James Little rioted inside the United
            States Capitol. In his own words, he “took over the Capital
            [sic]” because “[s]tealing elections is treason.” JA 32. He later
            pleaded guilty to a petty offense: Parading, Demonstrating, or
            Picketing in a Capitol Building. 40 U.S.C. § 5104(e)(2)(G).

                 That crime carries a sentence of six months in prison, a
            fine, or both.1 Id. § 5109(b). As an alternative sentence, a court
            may give a defendant up to five years of probation, with or
            without a fine. 18 U.S.C. §§ 3551(b), 3561. But here, the
            district court chose to mix and match those options, sentencing


            1
             Because that offense carries a prison term of six months, it is a Class
            B misdemeanor. 18 U.S.C. § 3559(a)(7). That makes it a “petty
            offense.” 18 U.S.C. § 19 (defining “petty offense” to include Class
            B misdemeanors).
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                                           3
            Little to sixty days in prison followed by three years of
            probation.

                To support Little’s sentence, the district court relied on
            § 3561(a)(3), which describes some of the circumstances in
            which probation is available.        Before introducing that
            provision, we first discuss the federal sentencing scheme and
            probation’s role within it.

            B. Authorized Sentences

                 The Sentencing Reform Act of 1984 “comprehensively”
            outlines the federal sentencing scheme. Cunningham v.
            California, 549 U.S. 270, 286 (2007). The Act’s opening
            section lists a menu of “authorized sentences” under the
            Federal Criminal Code:

                     An individual found guilty of an offense shall
                     be sentenced . . . to —
                        (1) a term of probation as authorized by
                             subchapter B;
                        (2) a fine as authorized by subchapter C; or
                         (3) a term of imprisonment as authorized
                             by subchapter D.
                     A sentence to pay a fine may be imposed in
                     addition to any other sentence.

            Pub L. No. 98-473 § 212(a)(2), 98 Stat. 1873, 1988 (codified
            at 18 U.S.C. § 3551(b)).

                 That menu makes five sentences available. The first is
            probation — which lets a court sentence a defendant to a term
            of court supervision, with an option for short periods of
            intermittent confinement. 18 U.S.C. § 3563(b)(10). The
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                                             4
            second is a fine. The third is imprisonment. The fourth is
            probation plus a fine. And the fifth is imprisonment plus a fine.

                 Notice that imprisonment plus probation is not an
            available option. That’s because the list of sentences is
            disjunctive (“probation . . . fine . . . or . . . imprisonment”),
            indicating that the options on the menu are alternatives that
            cannot be combined. Id. § 3551(b) (emphasis added).2

                 The provision following the list confirms that reading.
            Notwithstanding the disjunctive menu, “a fine may be imposed
            in addition to any other sentence.” Id. That exception allows
            a sentencing judge to combine a fine with probation or
            imprisonment. Congress’s decision to make an exception for
            fines but not probation strongly suggests that probation cannot
            be combined with imprisonment. Nasdaq Stock Market LLC v.
            SEC, 38 F.4th 1126, 1137 (D.C. Cir. 2022) (“mention of one
            thing” implies the “preclusion” of others).

                In other words, the Code’s text and structure show that
            probation and imprisonment may not be imposed as a single
            sentence. They are separate options on the menu.3


            2
              The Code’s chapter on sentencing mirrors the structure of the menu,
            dividing probation, fines, and imprisonment into three separate
            subchapters. 18 U.S.C. ch. 227. Subchapter A houses general
            provisions. Subchapter B discusses probation. Subchapter C covers
            fines. And Subchapter D lays out the rules for imprisonment.
            3
              To be sure, Congress can make exceptions to that general rule.
            Indeed, the Code’s chapter on sentencing applies “[e]xcept as
            otherwise specifically provided.” 18 U.S.C. § 3551(a). So when we
            say that a court may not impose probation and imprisonment for a
            single offense, we mean that § 3561(a)(3) does not allow it — not
            that there are no exceptions to that general rule elsewhere in the
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                                             5
            C. Probation and Petty Offenses

                 To ensure that probation remains a standalone
            sentence — not       a      punishment     in     addition    to
            imprisonment — the Sentencing Reform Act of 1984 put a
            further restriction on its use. Under the Act, a defendant could
            not get probation if he was “sentenced at the same time to a
            term of imprisonment for the same or a different offense.” Pub.
            L. 98-473, § 212(a)(2), 98 Stat. 1873, 1992 (emphasis added).

                Put differently, in 1984, sentencing judges could not
            impose probation and imprisonment for a single offense — the
            general rule discussed above. Nor could they impose probation
            for one offense and imprisonment for a different offense
            sentenced at the same time. Id. 4

            Code. But there is no exception for Little’s offense. See 40 U.S.C.
            § 5104(e)(2)(G).
                 Pushing back, the Government says 18 U.S.C. § 3561(a)(3) is
            the kind of specific exception contemplated by § 3551(a), allowing a
            sentencing court to impose probation and imprisonment for a single
            petty offense. We disagree. First, § 3551(a) contemplates that
            exceptions will generally be found outside the Code’s chapter on
            sentencing. See id. § 3551(a) (noting that the “provisions of this
            chapter” apply “except as otherwise specifically provided”
            (emphasis added)). Second, as we explain, § 3561(a) is not an
            exception to the general rule. See infra Part II.
            4
              Though the Sentencing Reform Act made probation a sentencing
            option distinct from imprisonment — and barred giving a defendant
            probation after imprisonment — it put in place a separate mechanism
            for monitoring offenders after they are released from prison:
            supervised release. 18 U.S.C. § 3583; see United States v.
            Granderson, 511 U.S. 39, 43 n.3 (1994) (“before 1984, probation
            [was] an alternative to a sentence,” but the Sentencing Reform Act,
            “for the first time, classified probation as a sentence”). We discuss
            supervised release in greater detail in Section II.B.
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                                            6

               But that regime proved too restrictive.          So in 1994,
            Congress amended the statute. It now reads:

                     A defendant who has been found guilty of an
                     offense may be sentenced to a term of probation
                     unless . . . the defendant is sentenced at the
                     same time to a term of imprisonment for the
                     same or a different offense that is not a petty
                     offense.

            Pub. L. No. 103-322, § 280004, 108 Stat. 1796, 2096 (codified
            at 18 U.S.C. § 3561(a)(3)) (emphasis added).

                  This case turns on those six new words. Does the italicized
            phrase modify only “a different offense”? If so, a court may
            not impose both imprisonment and probation for a single
            offense (though it can impose imprisonment for one petty
            offense and probation for a different offense). Or does the
            italicized phrase modify “the same or a different offense”? In
            that case, a sentencing court may impose both probation and
            imprisonment for a single petty offense.

                 The district court adopted the latter reading and sentenced
            Little to sixty days in prison plus three years of probation for a
            single petty offense.

                     II. A Defendant May Not Get Probation and
                        Imprisonment for a Single Petty Offense

                 We disagree with the district court’s reading of
            § 3561(a)(3). See United States v. Cordova, 806 F.3d 1085,
            1098 (D.C. Cir. 2015) (we review the district court’s
            interpretation of a statute de novo).
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                                             7
            A. Text

                Like many statutory lists, § 3561(a)(3) poses a problem:
            Does a qualifier at the end of the list modify just the list’s final
            item, or all the items that come before it?

                  The Supreme Court’s “typical[ ]” approach to that problem
            is to apply “the rule of the last antecedent.” Lockhart v. United
            States, 577 U.S. 347, 351-52 (2016). That rule commands “that
            a limiting clause or phrase should ordinarily be read as
            modifying only the noun or phrase that it immediately
            follows.” Id. at 351 (cleaned up). Thus, when Chief Justice
            Marshall interpreted a statute defining “piracy” as committing
            “upon the high seas . . . murder or robbery, or any other
            offense . . . punishable with death,” he held that all robberies at
            sea were piracies — not just robberies punishable by death.
            United States v. Palmer, 16 U.S. 610, 626 (1818) (cleaned up).

                 Applied here, the last-antecedent rule tells us that the
            qualifier “that is not a petty offense” modifies only the phrase
            that immediately precedes it: “a different offense.” 18 U.S.C.
            § 3561(a)(3). Read like that, the statute bars a court from
            imposing probation and imprisonment for a single offense. A
            court may impose both only if a defendant gets imprisonment
            for one petty offense and probation for a different offense.

                 Of course, the last-antecedent rule is not inexorable. See
            Facebook, Inc. v. Duguid, 141 S. Ct. 1163, 1170 (2021) (“The
            rule of the last antecedent is context dependent.”). And the
            Government contends that this statute is a poor fit for the rule.
            It says we can’t divide up the phrase “the same or a different
            offense” and apply the qualifier to only part of it. In the
            Government’s view, “the same or a different” is an adjectival
            phrase modifying the noun “offense.” If that’s correct, then
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                                                 8
            there is only one noun (“offense”) for the qualifier (“that is not
            a petty offense”) to modify:

                the same or a different      offense      that is not a petty offense
                [________________________]   [________]   [___________________________]
                   adjectival phrase           noun                qualifier

                Read that way, it is natural to read the qualifier to reach
            “the same.” And it would follow that prison plus probation is
            an authorized sentence for a single petty offense.

                 But that is not the only plausible interpretation of the
            statute. Rather than reading “the same” as part of an adjectival
            phrase, “the same” can be read as a pronoun. That’s because
            “the same” is often used as a pronoun meaning “something that
            has previously been defined or described.” Same (pronoun,
            def. 2), Webster’s Third New International Dictionary (1993).5
            For example, when describing a recent meal at my favorite
            restaurant, I could say: “My friend had a steak, and I had the
            same.”


            5
              True, Webster’s Third doesn’t list that meaning of “same” as the
            first definition, instead giving precedence to the adjectival meaning.
            Cf. Dissenting Op. 9-10. But that just shows that the adjectival
            meaning of “same” has been in use for longer. Webster’s Third,
            supra, at 4a (“In definitions of words of many meanings, the earliest
            ascertainable meaning is given first. Meanings of later derivation are
            arranged . . . by dated evidence and semantic development.”).
               It also may be true that using “the same” as a pronoun is “legalese.”
            Dissenting Op. 10. But Congress often borrows established legal
            phrasing when it writes statutes. See FAA v. Cooper, 566 U.S. 284,
            292 (2012). And “the same” has been used as a pronoun in some of
            this nation’s most important legal documents. See, e.g., U.S. Const.
            art. I, § 5 (“Each House shall keep a journal of its proceedings, and
            from time to time publish the same . . . .”).
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                                                9
                 If “the same” takes that meaning in § 3561(a)(3), the
            statute makes perfect sense. The first part reads: “A defendant
            who has been found guilty of an offense may be sentenced to a
            term of probation unless . . . [he] is sentenced at the same time
            to a term of imprisonment for the same.” 18 U.S.C.
            § 3561(a)(3) (emphases added). The final phrase then adds an
            item to the list: “or a different offense that is not a petty
            offense.” Id.

                 Reading “the same” as a pronoun also explains why
            Congress used different articles before the items in the list in
            § 3561(a)(3) (“the same”; “a different”). By using the definite
            article “the” before “same,” Congress made clear that it was
            referring to the offense mentioned earlier in the provision. And
            by using the indefinite article “a” before “different,” Congress
            captured the universe of other offenses for which a defendant
            might be sentenced. See Slack Technologies, LLC v. Pirani,
            143 S. Ct. 1433, 1440 (2023) (relying on Congress’s use of the
            “definite article” to interpret a statute).

                If “the same” is a pronoun, the end of § 3561(a)(3) is
            grammatically structured in a way that makes the last-
            antecedent rule a natural fit:

              the same      or   a different   offense     that is not a petty offense
             [_________]         [_________]   [_______]   [_________________________]
              pronoun            adjectival     noun                qualifier
                                  phrase

                 As with other statutory lists, it is less awkward “to apply
            th[e] modifier only to the item directly before it” than to all the
            preceding items. Lockhart, 577 U.S. at 351; see FTC v. Mandel
            Brothers, Inc., 359 U.S. 385, 389-90 (1959). That is
            particularly true here because there is an intervening adjectival
            phrase (“a different”) between the qualifier (“that is not a petty
            offense”) and the first item in the list (“the same”). Cf. Antonin
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                                            10
             Scalia & Bryan A. Garner, Reading Law: The Interpretation of
             Legal Texts, 147 (2012) (reading a qualifier to apply to a whole
             list is most appropriate “[w]hen there is a straightforward,
             parallel construction that involves all nouns or verbs in a
             series”).

                 Little offers a third interpretation of the text. He suggests
             that “the same or a different offense” is an “elliptical
             construction.” Little Br. 16-17. An elliptical construction is
             one in which a word or phrase is omitted from a sentence
             because it is implied from context — for instance, “I went to
             dinner, and John went [to dinner] too.” Thus, Little says,
             § 3561(a)(3) should be read as if Congress had written “the
             same offense or a different offense.” If correct, that reading
             would also make the rule of the last antecedent a natural fit
             because there are two nouns (one implied and one express)
             preceding the qualifier (“that is not a petty offense”).

                 To be sure, § 3561(a)(3) is no model of clarity. The text
             alone struggles to supply an answer to today’s case. But we
             don’t read text in a vacuum. And the rest of the statutory
             scheme confirms that the Government’s reading is second best.

             B. Structure

                 Courts “must read the words Congress enacted in their
             context and with a view to their place in the overall statutory
             scheme.” Turkiye Halk Bankasi v. United States, 598 U.S. 264,
             275 (2023) (cleaned up). Doing so here confirms — for four
             reasons — that a court cannot impose both imprisonment and
             probation for a single petty offense.

                 First, the Government’s reading would subvert the
             Sentencing Reform Act’s general rule that probation is a
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             standalone sentence, combinable only with a fine, not with
             imprisonment.

                 The Act sets up that rule by listing a menu of “[a]uthorized
             sentences” for a single offense. 18 U.S.C. § 3551. Those
             sentences are (1) probation, (2) a fine, (3) imprisonment, (4)
             probation and a fine, or (5) imprisonment and a fine. Id.; see
             supra Section I.B. That menu is the cornerstone of the
             Criminal Code’s chapter on sentences. 18 U.S.C. ch. 227.

                  So when the Government reads § 3561(a)(3) to add a new
             option — probation plus imprisonment — it’s a heavy lift.
             Unlike mystery novels, statutes rarely end with a surprise twist.
             And here, the surprise would be especially strange. It would
             attach a double punishment to petty offenses but not to felonies.
             So you could get probation plus prison for speeding in a
             national park, but not for assaulting a park ranger.

                 Second, the Government’s reading would turn a limit on
             probation into an expansion of its availability.

                  Section 3561(a) is a restriction on a sentencing court’s
             power. It lists three limits on a sentencing court’s authority to
             select probation as a sentence from the menu in § 3551(b).
             Those limits are:
                     (1) when a defendant is sentenced for “a Class
                         A or B felony”;
                     (2) when     another     statute      “expressly
                         preclude[s]” probation; or
                     (3) when “the defendant is sentenced at the
                         same time to a term of imprisonment for the
                         same or a different offense that is not a
                         petty offense.”
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             18 U.S.C. § 3561(a).

                 From the third of those limits, the Government would
             forge an expansion of probation’s availability. That’s an odd
             way to read a limit. Imagine your friend said, “You can borrow
             my car when I’m out of town, except for three scenarios when
             you cannot.” Would you read into the third scenario an
             occasion to borrow his car when he’s in town? Probably not if
             you wanted to stay friends.                   That’s because
             speakers — including legislatures — do not typically hide new
             expansions of authority within limits on a grant of authority.

                 Third, the Government’s reading of the statute would turn
             the Sentencing Reform Act’s post-confinement-monitoring
             scheme on its head, subverting two of Congress’s deliberate
             choices.

                  Choice 1: Congress made supervised release, not
             probation, the mechanism for court supervision after time in
             prison. Supervised release is a term of “postconfinement
             monitoring,” which runs from the time a defendant is released.
             Johnson v. United States, 529 U.S. 694, 696-97 (2000). It is
             not a standalone sentence, but rather is imposed as “part of” the
             defendant’s term of imprisonment. 18 U.S.C. § 3583(a).
             Unsurprisingly, the rules governing supervised released are
             housed within the Code’s subchapter on imprisonment. Id.
             ch. 227, subch. D (imprisonment). By contrast, probation is a
             distinct sentence, housed in its own subchapter. See id.
             § 3551(b); ch. 227, subch. B (probation).6

             6
               Probation and supervised release thus play different roles in the
             sentencing scheme. “Probation is a standalone sentence that might
             allow for intermittent imprisonment during its term, while supervised
             release . . . follows a term of imprisonment that has been completed
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                  Choice 2: Congress expressly barred supervised release for
             petty offenses. 18 U.S.C. § 3583(b)(3). And because
             supervised release is the Code’s exclusive form of post-
             confinement monitoring, that choice ruled out monitoring after
             prison for single-count petty offenders. Once a petty offender
             is done with imprisonment he may move on with his
             life — whereas more serious offenders may be supervised to
             keep them on the straight and narrow.

                  The Government’s reading of § 3561(a)(3) subverts both
             those choices. In its view, whenever a defendant is sentenced
             to imprisonment for a petty offense, the court may also impose
             a term of probation to follow time in prison. Yet that turns
             probation into a form of post-confinement monitoring. Cf.
             U.S.S.G. ch. 7, pt. A, note 2(b) (“[t]he conditions of supervised
             release” are almost “the same as those for . . . probation”). And
             it imposes post-confinement monitoring on single-count petty
             offenders even though Congress expressly exempted them
             from it. 18 U.S.C. § 3583(b)(3).

                  Fourth, the Government’s reading of § 3561(a)(3) would
             let a court impose more post-confinement monitoring for a
             petty offense than for more serious misdemeanors and most
             felonies.

                  The maximum term of supervised release increases with
             the severity of the offense. 18 U.S.C. § 3583(b). The most
             serious felons get five years, some other felons get three years,
             nonpetty misdemeanants get one year, and petty offenders get
             none. Id.



             in full.” United States v. Panayiotou, 2023 WL 417953, at *2
             (D.D.C. Jan. 25, 2023).
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                  Reading § 3561(a)(3) to prohibit probation and
             imprisonment for a single petty offense — as we
             do — preserves that neat correspondence between the severity
             of the offense and the length of post-confinement monitoring.
             By contrast, because the Government’s reading turns probation
             into a form of post-confinement monitoring, it would let a court
             impose more monitoring for a petty offense than for more
             serious misdemeanors and most felonies:

                    Offense          Term of Post-confinement Monitoring

                                      Our Reading           Government Reading

                 Class A felony          5 years                   5 years

                 Class B felony          5 years                   5 years

                 Class C felony          3 years                   3 years

                 Class D felony          3 years                   3 years

                 Class E felony          1 year                     1 year
                 Nonpetty
                                         1 year                     1 year
                 misdemeanor
                 Petty offense            None                    5 years*


                  If Congress wanted to impose more post-confinement
             monitoring for petty offenses than for all but the most serious
             felonies, it could. But we would expect clear language
             authorizing that bizarre result. Instead, we’re left with

             *
                That’s five years of probation, to run after a defendant’s
             confinement. In contrast, the table’s other figures refer to supervised
             release, also to run after a defendant’s confinement.
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             § 3561(a)(3) — and its text is at best equivocal. See supra
             Section II.A; cf. Whitman v. American Trucking Associations,
             531 U.S. 457, 468 (2001).

                  To sum up, there are two possible readings of
             § 3561(a)(3). Our reading keeps probation and imprisonment
             as separate sentences. 18 U.S.C. § 3551(b). It takes seriously
             Congress’s instruction not to impose post-confinement
             monitoring on petty offenders. Id. § 3583(b)(3). And it gives
             § 3561 a serious role to play in the statutory
             scheme — allowing imprisonment for one petty offense and
             probation for a different offense, while confirming that prison
             plus probation is not an available sentence for the same offense.
             Id. § 3561(a)(3).

                  The other possible reading is the Government’s. It is at
             odds with the Act’s opening list of available sentences. It turns
             a limit on probation into an expansion of it. It sidesteps the bar
             on supervised release for petty offenders. And it subjects petty
             offenders to a term of post-confinement monitoring five times
             longer than the term imposed on some felons.

                  That cannot be right. Congress isn’t in the business of
             putting a statute “at war with itself.” United States v. American
             Tobacco Co., 221 U.S. 106, 180 (1911). We thus avoid that
             unnecessary conflict by reading § 3561(a)(3) to preserve the
             statutory scheme’s bar on sentences of prison plus probation
             for the same offense.7

             7
                As a fallback, the Government argues that Little’s sentence is
             authorized by 18 U.S.C. § 3563(b)(10), which lets a sentencing court
             require a defendant on probation to “remain in the custody of the
             Bureau of Prisons during nights, weekends, or other intervals of
             time.” So the Government says the district court’s reliance on
             § 3561(a)(3) was harmless. See United States v. Simpson, 430 F.3d
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                                          *    *    *

                  Section 3561(a)(3) is no model of clarity. For that reason,
             thoughtful district judges have divided over the best reading of
             it. See United States v. Panayiotou, 2023 WL 417953, at *1 &
             n.2 (D.D.C. Jan. 25, 2023) (disagreeing with the Government,
             even though “nine judges have adopted [its] position”).

                 But the Government’s interpretation is second best. It says
             § 3561(a)(3) lets a sentencing court impose probation plus
             imprisonment for a single petty offense. Yet that reading
             conflicts with the statutory scheme. Congress made probation
             and imprisonment separate options for separate offenses;
             barred supervised release for petty offenders; and linked the



             1177, 1184 (D.C. Cir. 2005) (setting out harmless error test for both
             constitutional and nonconstitutional errors). But the Government has
             not shown that § 3563(b)(10) authorizes a sixty-day stint in custody
             at the start of a defendant’s sentence. Indeed, the statute
             contemplates short periods of confinement like “nights” and
             “weekends” interspersed throughout probation.             18 U.S.C.
             § 3563(b)(10); see United States v. Forbes, 172 F.3d 675, 676 (9th
             Cir. 1999) (“a straight sentence of six months is not the intermittent
             incarceration that this statute permits”). In any event, the district
             court expressly ruled out imposing intermittent confinement as a
             condition of probation. It noted that “the government did not . . .
             request [it] in Little’s case.” JA 130-31. And it said intermittent
             confinement “would be unwise” because there were “COVID-19
             safety concerns inherent in repeatedly entering and leaving detention
             facilities.” Id. So the Government cannot show, as it must, that the
             district court “would have” imposed the same sentence had it not
             misunderstood its sentencing power under § 3561(a)(3). United
             States v. Ayers, 795 F.3d 168, 176 (D.C. Cir. 2015) (emphasis
             added).
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             length of post-confinement monitoring to the severity of an
             offense. The Government’s reading subverts those choices.

                  We cannot divorce § 3561(a)(3)’s hazy text from that
             clarifying context. So we vacate Little’s sentence and remand
             to the district court for resentencing.8

                                                                     So ordered.




             8
               In his plea agreement, Little waived most of his appellate rights.
             But he reserved the right to appeal a sentence “above the statutory
             maximum.” JA 22-23. Little argues that reservation allows this
             appeal. Little Br. 38. Because the Government “opted not to
             enforce” Little’s waiver, we need not decide whether Little reserved
             the right to bring this appeal. Govt. Br. 17 n.4; see United States v.
             Ortega-Hernandez, 804 F.3d 447, 451 (D.C. Cir. 2015) (appellate
             waiver not jurisdictional).
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                  WILKINS, Circuit Judge, dissenting: James Little pleaded
             guilty to a petty offense under 40 U.S.C. § 5104(e)(2)(G)
             related to his participation in the January 6, 2021 insurrection
             at the United States Capitol. The District Court sentenced him
             to 60 days’ imprisonment, followed by three years of
             probation. On appeal, Little offers several different reasons
             why his split sentence violates federal sentencing statutes. The
             majority agrees. Because I believe that the majority and Little
             are mistaken, I respectfully dissent.

                                            I.

                  A few weeks after the 2020 election, Little uploaded an
             almost 23-minute YouTube video contesting the election
             results and mentioning a potential civil war. On January 5,
             2021, Little traveled from North Carolina to Washington, D.C.
             to attend former President Trump’s “Stop the Steal” rally the
             following day—January 6. J.A. 54; Appellant Br. 8.

                  “January 6, 2021, marked a tragic day in American history.
             The peaceful transfer of power—one of our most important and
             sacred democratic processes—came under a full-fledged
             assault.” United States v. Little, 590 F. Supp. 3d 340, 342
             (D.D.C. 2022). While Congress assumed its constitutional
             duty to certify the results of the 2020 election, “[r]ioters”
             forced their way into the Capitol building. Id. This violent
             attack resulted in multiple deaths, injuries, and “inflicted
             millions of dollars in damage to the Capitol.” Trump v.
             Thompson, 20 F.4th 10, 15 (D.C. Cir. 2021). Little joined the
             other rioters who forced their way into the Capitol.

                  While inside the building, Little smiled and first-bumped
             other rioters, took photographs of himself, J.A. 13, and sent a
             text message stating, “We just took over the Capital [sic]!” J.A.
             12. The individual who received the message responded, “And
             you are bragging? ‘We’? THIS IS TREASON!!! IF YOU
             DON’T CONDEMN THIS, NEVER BOTHER SPEAKING
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                                            2
             TO ME AGAIN! HORRIBLE, HORRIBLE PEOPLE. IT’S A
             COUP! YOU OBVIOUSLY HATE AMERICA!!!” Id. To
             this, Little stated, “We are stopping treason! Stealing elections
             is treason! []We’re not going to take it anymore!” and “[y]ou’ll
             thank me for saving your freedom . . . later!” Id.

                  Although Little “did not directly assault officers[,]” his
             participation was essential because those who did engage in
             violence “were able to do so because they found safety in
             numbers.” Little, 590 F. Supp. 3d at 342.

                  Little was ultimately arrested and charged with four
             counts: (1) entering and remaining in a restricted building or
             grounds in violation of 18 U.S.C. § 1752(a)(1); (2) disorderly
             and disruptive conduct in a restricted building or grounds in
             violation of 18 U.S.C. § 1752(a)(2); (3) disorderly conduct in a
             Capitol building or grounds in violation of 40 U.S.C.
             § 5104(e)(2)(D); and (4) parading, demonstrating, or picketing
             in a Capitol building in violation of 40 U.S.C. § 5104(e)(2)(G).
             J.A. 16–17.

                   In November 2021, Little pleaded guilty to one count of
             parading, demonstrating, and picketing in a Capitol building in
             violation of 40 U.S.C. § 5104(e)(2)(G). See J.A. 19–33. As a
             Class B misdemeanor carrying a six-month statutory maximum
             penalty, this is a petty offense. See 18 U.S.C. § 19 (defining
             petty offenses as including Class B); id. § 3559(a)(7)
             (establishing Class B misdemeanors as offenses carrying a
             maximum of six months’ imprisonment). Little was sentenced
             to a term of 60 days’ imprisonment, followed by a term of three
             years’ probation. J.A. 227–28. In doing so, the District Court
             noted that this sentence was necessary to “not only punish
             Little for his conduct but also ensure that he will not engage in
             similar conduct again during the next election.” Little, 590 F.
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                                             3
             Supp. 3d at 344 (“Only a split sentence would adequately serve
             the goals of sentencing described in 18 U.S.C. § 3553.”).

                                            II.

                  Little contends that his sentence of incarceration, followed
             by a term of probation (commonly called a “split sentence”) is
             illegal. Resolution of the issue turns on the interpretation of 18
             U.S.C. § 3561(a), which provides as follows:

                     (a) In general.--A defendant who has been
                     found guilty of an offense may be sentenced to
                     a term of probation unless--

                            (1) the offense is a Class A or
                                Class B felony and the
                                defendant is an individual;

                            (2) the offense is an offense for
                                which probation has been
                                expressly precluded; or

                            (3) the defendant is sentenced at
                            the same time to a term of
                            imprisonment for the same or a
                            different offense that is not a
                            petty offense.

             As we see, Section 3561(a) is a list of exceptions—instances
             when the district judge cannot impose a sentence of probation.
             It provides that a defendant “may be sentenced to a term of
             probation unless” one of the three enumerated exceptions in
             subsections (a)(1), (a)(2) or (a)(3) applies.
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                                            4
                  The District Court found that the probation exception in
             § 3561(a)(3) did not apply to Little, and thus the court imposed
             a split sentence, a term of imprisonment followed by a term of
             probation.
                                            A.

                  To understand the probation exception in § 3561(a)(3), we
             need to take a step back. Prior to the Sentencing Reform Act
             of 1984, federal prison sentences were by default
             indeterminate: if the court imposed a prison sentence, the
             defendant would be eligible for parole after serving one-third
             of the prison term, but whether and when the defendant was
             released on parole was solely within the discretion of the U.S.
             Parole Commission. See generally United States ex rel.
             D'Agostino v. Keohane, 877 F.2d 1167, 1169–70 (3d Cir.
             1989). Hence, even though the court imposed the prison term,
             the amount of time that the defendant would actually spend in
             prison was “indeterminate” at the time of sentencing. As the
             Supreme Court explained, “under the indeterminate-sentence
             system, Congress defined the maximum, the judge imposed a
             sentence within the statutory range (which [the judge] usually
             could replace with probation), and the Executive Branch’s
             parole official eventually determined the actual duration of
             imprisonment.” Mistretta v. United States, 488 U.S. 361, 365
             (1989).

                 On the other hand, “[d]eterminate sentences are those
             whose length can be measured with relative certainty at the
             time they are imposed.” ARTHUR W. CAMPBELL, LAW OF
             SENTENCING § 4:3 (3d ed. 2022). To impose a determinate
             sentence prior to the Sentencing Reform Act, courts used split
             sentences. In a split sentence, the court imposed a term of
             imprisonment, but suspended the execution of all except a
             specific number of days or months, followed by a term of
             probation. In this manner, the court could determine exactly
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                                            5
             how much time the defendant spent in prison, and the
             defendant was supervised on probation, rather than parole, after
             his release. If the defendant violated probation, the court could
             then impose the remainder of the prison term that was
             suspended.

                  The preceding example is how the court imposed a split
             sentence in a single-count case. In a multiple-count case, the
             court could impose a split sentence by imposing a prison term
             on one count and a probation term on the second count. See,
             e.g., United States v. Nunez, 573 F.2d 769, 770–72 & n.5 (2d
             Cir. 1978) (finding split sentence in a single-count case was
             lawful where court imposed a three-year term of imprisonment
             with all but six months suspended, followed by a four-year
             term of probation and noting that “[a] judge could achieve this
             result . . . on a multi-count indictment by giving a prison
             sentence on one count and a period of probation on another[]”);
             Green v. United States, 298 F.2d 230, 231–33 (9th Cir. 1961)
             (affirming a split sentence imposed in a multiple-count case).

                  The Sentencing Reform Act “makes all [prison] sentences
             basically determinate. A prisoner is to be released at the
             completion of his sentence reduced only by any credit earned
             by good behavior while in custody.” Mistretta, 488 U.S. at 367
             (citing 18 U.S.C. § 3624(a), (b)). Upon release from prison,
             the defendant is placed on supervised release, and if the
             defendant violates those terms and conditions, supervised
             release can be revoked and the defendant can be sent back to
             prison. See 18 U.S.C. § 3583. As a result, split sentences were
             no longer needed to achieve determinate sentences—every
             prison term imposed was now determinate, and post-release
             supervision was handled by supervised release, rather than
             parole or probation.
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                                             6
                 The Sentencing Reform Act basically replicated the split
             sentencing method of imposing a determinate sentence by
             creating its “functional equivalent,” which used “a term of
             imprisonment followed by a period of supervised release.”
             U.S.S.G. § 5.B1.1 cmt. background (citing former 18 U.S.C.
             § 3561 (repealed 1984); 18 U.S.C. § 3583; and quoting S. S.
             REP. NO. 98–225 (1983)).

                  Because the use of split sentences was no longer necessary
             to achieve determinate sentencing, the Sentencing Reform Act
             eliminated split sentences in single-count and multiple-count
             cases. The Act did so by prohibiting the imposition of
             probation when “the defendant is sentenced at the same time to
             a term of imprisonment for the same or a different offense.”
             Pub. L. No. 98-473, Title II, § 212(a)(2), Oct. 12, 1984, 98 Stat.
             1992 (emphasis added). (This was the original language of
             § 3561(a)(3) in the Sentencing Reform Act.).

                 For reasons it never articulated, Congress eliminated the
             option of imposing supervised release following a term of
             imprisonment for petty offenses shortly after the October 1,
             1987, effective date of the Sentencing Reform Act. Sentencing
             Act of 1987, Pub. L. No. 100–182, § 8, 101 Stat. 1266 (1987)
             (amending the supervised release statute, 18 U.S.C.
             § 3583(b)(3), to add the words “other than a petty offense”).

                  It thus appears undisputed that as of the end of 1987,
             Congress abolished split sentences for all offenses, whether
             effectuated by imposing imprisonment and probation in a
             single-count case or by doing so in a multiple-count case. It is
             also undisputed that as of the end of 1987, Congress eliminated
             supervised release as an option for court supervision following
             a prison sentence for petty offenses, whether in a single-count
             case or a multiple-count case.
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                                             7
                                            B.

                  In 1994, Congress amended the prohibition on split
             sentences appearing at 18 U.S.C. § 3561(a)(3) “by inserting
             ‘that is not a petty offense’ before the period.” Violent Crime
             Control and Law Enforcement Act of 1994, Pub. L. No. 103-
             322, Title XXVIII, § 280004, 108 Stat. 1796 (1994). Thus, the
             provision now prohibits the imposition of probation when “the
             defendant is sentenced at the same time to a term of
             imprisonment for the same or a different offense that is not a
             petty offense.” 18 U.S.C. § 3561(a)(3) (emphasis added). The
             present dispute centers on how to interpret the 1994
             amendment.

                  As described above, Little was given a split sentence on a
             single petty offense count: 60 days’ imprisonment followed by
             three years of probation. Little concedes that the 1994
             amendment created an exception to allow for split sentences in
             cases involving petty offenses, but he contends that Congress
             only intended to allow split sentences in multiple-count petty
             offense cases—not in single-count petty offense cases:

                     If the restrictive phrase (“that is not a petty
                     offense”) modifies only the phrase that precedes
                     it (“a different offense”), then the provision
                     permits a defendant convicted of two petty
                     offenses to receive a sentence of imprisonment
                     on one offense and probation on the other, but
                     prohibits dual punishment—imprisonment and
                     probation—for a single petty offense.

             Appellant Br. 14–15.

                 For several reasons, Little’s interpretation of the statute is
             untenable.
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                                              8

                  Recall the text of 18 U.S.C. § 3561(a)(3) following the
             1994 amendment: probation may be imposed “unless . . . the
             defendant is sentenced at the same time to a term of
             imprisonment for the same or a different offense that is not a
             petty offense.” Importantly, the adjectives “same” and
             “different” modify the same word: “offense.” Immediately
             after the word “offense[,]” we find the restrictive clause at
             issue: “that is not a petty offense.” Invoking the last antecedent
             rule, Little argues that the restrictive clause, “that is not a petty
             offense,” modifies the phrase that precedes it, “a different
             offense,” but not the word “same.”

                   This is an improper application of the rule of the last
             antecedent. The rule provides that “a limiting clause or phrase
             . . . should ordinarily be read as modifying only the noun or
             phrase that it immediately follows.” Jama v. Immigr. &
             Customs Enf’t, 543 U.S. 335, 343 (2005) (quoting Barnhart v.
             Thomas, 540 U.S. 20, 26 (2003)). The most obvious
             application of the rule is to construe the limiting clause “that is
             not a petty offense” as modifying the noun that it immediately
             follows: “offense.” Alternatively, we could consider the
             limiting clause as modifying the prepositional phrase that
             precedes it—“for the same or a different offense”—because
             “the most natural way to view the modifier is as applying to the
             entire preceding clause” since “that clause hangs together as a
             unified whole . . . .” Cyan, Inc. v. Beaver Cnty. Emps. Ret.
             Fund, 138 S. Ct. 1061, 1077 (2018). Thus, whether the limiting
             clause modifies “offense” or “for the same or a different
             offense,” either construction results in an exception to the split
             sentence prohibition in both single-count and multiple-count
             petty offense cases.

                 Little’s argument that the limiting clause instead modifies
             only the phrase “different offense” turns the sentence into a
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                                                 9
             grammatical jumble. The adjective “same” still modifies the
             exact word as the adjective “different,” but in Little’s construct,
             the identical word now means “any offense” when modified by
             “same,” and it means “any offense that is not a petty offense”
             when modified by “different.” The word “offense” cannot
             have two different meanings when simultaneously modified by
             separate adjectives. Further, Little’s construct gives meaning
             to “different offense,” but it makes the adjective “same” an
             orphan, because it no longer has a noun to modify. When used,
             the last antecedent rule must be applied “without impairing the
             meaning of the sentence[,]” NORMAN SINGER, SUTHERLAND ON
             STATUTORY CONSTRUCTION § 47:33 (7th ed. 2022) (citation
             omitted). Little’s application of the last antecedent rule fails
             this fundamental test. 1

                 The majority tries to evade this grammatical confusion by
             asserting that Congress used “same” as a pronoun rather than
             an adjective. Maj. Op. 8. However, at the time of the 1994
             1
               If Congress had intended to reach the result sought by Little, it
             would have set forth “same offense” separately, so that “different
             offense” could be considered a separate referent for the limiting
             clause that follows. For instance, Congress could have added the
             word “offense” and said that probation may be imposed “unless . . .
             the defendant is sentenced at the same time to a term of imprisonment
             for the same offense or a different offense that is not a petty offense.”
             See ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE
             INTERPRETATION OF LEGAL TEXTS 148–49 (2012) (comparing
             “Institutions or societies that are charitable in nature (the institutions
             as well as the societies must be charitable)[]” with the alternative
             drafting, “An institution or a society that is charitable in nature (any
             institution probably qualifies, not just a charitable one)[]”). Even if
             Congress had added the word “offense” after “same,” the sentence
             would still only “probably” have the meaning that Little would
             prefer. Id. at 149. But it is a moot point, because that is not what
             Congress did here.
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                                            10
             amendment at issue, every major English dictionary (including
             the one cited by the majority) listed “same” in its adjective form
             as the first definition.        See WEBSTER’S THIRD NEW
             INTERNATIONAL DICTIONARY 2007 (1993); OXFORD ENGLISH
             DICTIONARY 427 (1989); MERRIAM-WEBSTER’S COLLEGIATE
             DICTIONARY 1033 (1993); AMERICAN HERITAGE DICTIONARY
             OF THE ENGLISH LANGUAGE 1088 (1985); RANDOM HOUSE
             COLLEGE DICTIONARY 1165 (1982).

                  The majority also relies on Congress’s use of the definite
             article as support for the contention that “same” is being used
             as a pronoun. Maj. Op. 8-9. That is rather weak sauce, given
             that the definite article almost always precedes “same,” even
             when the word is clearly used as an adjective. No one says,
             “My friend had a steak, and I had a same steak.”

                  Thus, “same” as an adjective was indisputably the most
             common usage of the word at the time Congress wrote the
             statutory text at issue. As one prominent commentator has put
             it, using same as a pronoun is “legalese” that should be
             “avoided by all that have any skill in writing,” because “[t]he
             words it, them, and the noun itself . . . are words that come
             naturally to us all; same or the same is an unnatural English
             expression[.]” BRYAN A. GARNER, GARNER’S DICTIONARY OF
             LEGAL USAGE 796 (3d ed. 2011) (citation omitted). Of course,
             “the same” can be used as a pronoun properly in some
             instances, but just because “a definition is broad enough to
             encompass one sense of a word does not establish that the word
             is ordinarily understood in that sense.” Taniguchi v. Kan Pac.
             Saipan, Ltd., 566 U.S. 560, 568 (2012) (emphasis in original).
             Consequently, I cannot agree with the majority’s attempt to
             shoehorn the usage of “same” as a pronoun into the statutory
             text to support Little’s interpretation.
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                                              11
                  My interpretation of the statute also comports more with
             the purpose of the 1994 amendment, as reflected in its title
             “Authorization of Probation for Petty Offenses in Certain
             Cases.” See Dubin v. United States, 143 S. Ct. 1557, 1567
             (2023) (noting that a title can be used to find meaning of a
             statute); accord Yates v. United States, 574 U.S. 528, 539–40
             (2015); Almendarez-Torres v. United States, 523 U.S. 224, 234
             (1998). With the 1994 amendment, Congress clearly intended
             to authorize probation “for petty offenses” in instances where
             probation was not previously allowed. The one instance in
             which we are guaranteed to manifest Congress’s intent is in a
             single offense case. Let me explain.

                  Suppose Mr. Little had stopped at a bank on his way to the
             Capitol on January 6, 2021 and handed the teller a note
             demanding cash, violating 18 U.S.C. § 2113, a felony. If Little
             pleaded guilty to bank robbery and the instant petty offense—
             the district judge could sentence Little to three years’ probation
             for the bank robbery, if the judge sentenced Little at the same
             time to 90 days’ imprisonment for the petty offense of parading
             and demonstrating at the Capitol. This is so pursuant to either
             my or the majority’s interpretation of Section 3561(a)(3),
             because the statute allows a sentence of probation to be
             imposed for the bank robbery “unless . . . the defendant is
             sentenced at the same time to a term of imprisonment for . . . a
             different offense that is not a petty offense.” Because the
             “different offense” (parading and demonstrating) is a petty
             offense, the judge could impose probation for the felony bank
             robbery, to follow the prison sentence for the petty offense. 2
             2
               Conversely, if the judge instead sentenced Little to 90 days’
             imprisonment on the bank robbery, he could not sentence Little to
             three years’ probation on the parading and demonstrating charge.
             Because bank robbery is not a petty offense, the exception in Section
             3561(a)(3) would apply that disallows a probationary sentence to be
             imposed at the same time as a prison sentence for a different offense.
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                                           12
             Thus, even though Congress apparently intended to
             “authoriz[e] . . . probation for petty offenses” with the
             amendment, Violent Crime Control and Law Enforcement Act
             § 280004, the language authorizes probation for any offense,
             including felonies, so long as the probation is imposed at the
             same time as a prison sentence for a petty offense. And while
             this is perhaps an unintended consequence—yet nevertheless
             the result of Congress’s drafting—it remains true because the
             limitation to petty offenses was placed on the offense that
             received the prison term, but no similar limitation was placed
             on the offense that could simultaneously receive the
             probationary term.

                  Where the defendant is convicted of only a single petty
             offense, such as in this case, my reading of the statute would
             authorize probation to be imposed for that petty offense where
             it was previously prohibited and in accordance with the intent
             of Congress as described in the title of the 1994 amendment.
             Indeed, cases in which there is only a single petty offense are
             the only instances where that outcome is guaranteed. Where
             there are two different offenses, application of the 1994
             amendment could not only authorize probation when there are
             two petty offenses, but it could also authorize probation for a
             felony that is sentenced at the same time as a petty offense, as
             shown in the hypothetical above. Thus, construing the 1994
             amendment to apply to a single offense not only comports with
             the natural and ordinary meaning of “same,” it also ensures that
             Congress’s desire to authorize probation for petty offenses
             where it had previously been prohibited can actually occur in
             those instances where that outcome is guaranteed.

                 Construing the text to modify the split sentence exception
             to apply regardless of whether there is one petty offense or
             multiple petty offenses also comports with the statutory
             scheme. In 1984, Congress drafted § 3651(a)(3) in a manner
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                                             13
             to prohibit split sentences in all instances, regardless of whether
             the defendant was being sentenced on one count or multiple
             counts. It would stand to reason that when Congress made an
             exception to the split-sentence prohibition for petty offenses, it
             would do so for all split sentences involving petty offenses,
             regardless of whether the defendant was being sentenced on
             one count or multiple counts.

                  Indeed, precluding split sentences for single petty offenses
             affirmatively frustrates the purposes of sentencing as set forth
             in the Sentencing Reform Act. “When meting out sentences,
             judges must consider the goals of punishment, deterrence,
             incapacitation, and rehabilitation.” United States v. Godoy,
             706 F.3d 493, 496 (D.C. Cir. 2013) (citing 18 U.S.C. §
             3553(a)(2)).        “These four considerations—retribution,
             deterrence, incapacitation, and rehabilitation—are the four
             purposes of sentencing generally, and a court must fashion a
             sentence ‘to achieve the[se] purposes ... to the extent that they
             are applicable’ in a given case.” Tapia v. United States, 564
             U.S. 319, 325 (2011) (quoting 18 U.S.C. § 3553(a)). See also
             Rosales-Mireles v. United States, 138 S. Ct. 1897, 1903 (2018);
             Rita v. United States, 551 U.S. 338, 347–48 (2007). However,
             Congress’s message in the Sentencing Reform Act was, “Do
             not think about prison as a way to rehabilitate an offender,”
             Tapia, 564 U.S. at 330, because the Act “expressly prohibited
             a district court in crafting an initial sentence from considering
             a defendant’s need for rehabilitation in support of a prison
             sentence.” Concepcion v. United States, 142 S. Ct. 2389, 2400
             (2022) (citing 18 U.S.C. § 3582(a)). See also Mistretta, 488
             US. at 367 (explaining that the Act “rejects imprisonment as a
             means of promoting rehabilitation”). Rather than prison,
             probation and supervised release are the proper means of
             effectuating the rehabilitative purposes of sentencing under the
             Act. See Tapia, 564 U.S. at 330.
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                                            14
                  The district judge has a duty to “consider all of the.
             § 3553(a) factors to determine whether they support the
             sentence requested by a party,” Gall v. United States, 552 U.S.
             38, 49–50 (2007), when sentencing a defendant for a single
             petty offense, just as in any other case. See 18 U.S.C. § 3553(b)
             (in absence of a sentencing guideline, “court shall impose an
             appropriate sentence, having due regard for the purposes set
             forth in subsection (a)(2)”); U.S.S.G. § 1B1.9 (sentencing
             guidelines do not apply to Class B and C misdemeanors or
             infractions). Accordingly, when imposing a sentence for a
             single petty offense, the judge must consider “the overarching
             sentencing purposes of “retribution, deterrence, incapacitation,
             and rehabilitation.” Rosales-Mireles, 138 S. Ct. at 1903
             (quoting Tapia, 564 U.S. at 325). The judge could reasonably
             conclude that a short prison sentence is necessary as a means
             of retribution and deterrence in a single petty offense case. But
             what if the judge also finds that the defendant needs
             rehabilitation? The Sentencing Reform Act “instruct[s]
             sentencing courts to consider rehabilitation as one of the
             purposes of sentencing but bars them from seeking to achieve
             rehabilitation through imprisonment.” In re Sealed Case, 573
             F.3d 844, 851 (D.C. Cir. 2009) (citing 18 U.S.C. § 3582(a) and
             18 U.S.C. § 3553(a)). Consequently, where supervised release
             is not an option, the only way that the judge can comply with
             the foundational requirements of the Sentencing Reform Act is
             to impose a sentence of imprisonment to be followed by a term
             of probation – a split sentence. Indeed, in this very case, the
             district judge found that “[o]nly a split sentence would
             adequately serve the goals of sentencing described in 18 U.S.C.
             § 3553,” Little, 590 Supp. 3d at 344.

                 The majority’s interpretation prevents this district judge
             from complying with Section 3553(a), a bedrock mandate of
             the Sentencing Reform Act. That’s a colossal lift for a
             secondary definition of a word.
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                  If petty offenders need a short prison sentence to punish
             them, to reflect the seriousness of the offense and to deter them
             from future criminal conduct, they need it regardless of
             whether they committed one petty offense or two. If petty
             offenders need rehabilitation following imprisonment, they
             need it regardless of whether they committed one petty offense
             or two. If Congress no longer wanted to force judges to choose
             either punishment or rehabilitation for petty offenses – contrary
             to the dictates of Section 3553(a) – there is no reason to believe
             it intended to eliminate this Hobson’s choice only when the
             defendant was convicted of two petty offenses, but not one. It
             should go without saying that Congress intended for district
             judges to comply with Section 3553(a) in every sentencing of
             a petty offense, whether for a single count or for multiple
             counts.      The majority points to nothing indicating that
             Congress intended to render Section 3553(a) impotent in single
             petty offense cases when it enacted the 1994 amendment. We
             should not do so here. See Ali v. Federal Bureau of
             Prisons, 552 U.S. 214, 222 (2008) (construction of
             a statutory term “must, to the extent possible, ensure that
             the statutory scheme is coherent and consistent”); Hibbs v.
             Winn, 542 U.S. 88, 101 (2004) (“[a] statute should be construed
             so that effect is given to all its provisions, so that no part will
             be inoperative or superfluous, void or insignificant ....”)
             (quoting 2A N. Singer, Statutes and Statutory Construction §
             46.06, pp.181–186 (rev. 6th ed.2000)).

                 The majority makes much of the anomalies between
             imprisonment followed by supervised release and
             imprisonment followed by probation. Maj. Op. 11-14. But the
             majority must concede that, notwithstanding any such
             anomalies that might result, Congress intended to allow
             imprisonment followed by probation for defendants sentenced
             to multiple offenses, whether it is two petty offenses or a felony
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                                             16
             and a petty offense. That concession seriously undermines any
             concern about anomalies and incongruities, given that there is
             no question that Congress intended to allow one form of split
             sentences (the multiple-count form involving at least one petty
             offense). The only question is whether we must override the
             most natural reading of the text based on something never
             uttered by Congress: it could live with the resulting anomalies
             created by split sentences in multiple offense cases, but the
             anomalies that result in the other form of split sentences (the
             single-count form) were simply a bridge too far. The majority
             points to no such evidence, and I find none.

                                       ***
                 In sum, the majority has departed from the natural and
             common reading of the statutory text, and in doing so, has
             undermined 18 U.S.C. § 3553(a), the foundational provision
             governing the crafting of sentences under the Sentencing
             Reform Act. The District Court should be affirmed, 3 and I
             respectfully dissent.




             3
               Following vacatur of the sentence on remand, it appears that the
             district judge could impose a sentence of imprisonment or probation,
             and that he would not be limited to the 90 days or three years that
             were imposed before if he concluded that either a longer prison or
             probationary term were required to meet the goals of 18 U.S.C. §
             3551. See Davenport v. United States, 353 F.2d 882, 884 (D.C. Cir.
             1965) (per curiam) (“[A] defendant who successfully attacks an
             invalid sentence can ‘be validly resentenced though the resentence
             increased the punishment.’”) (quoting Hayes v. United States, 249
             F.2d 516, 517 (D.C. Cir. 1957)).
